       Case 2:07-cr-00170-MCE Document 151 Filed 11/10/15 Page 1 of 3



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5
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     JUAN CAMACHO
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8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11                                                       No. Cr. S 07-170 MCE
     UNITED STATES OF AMERICA,
12                                                       No. Cr. S 07-289 MCE
                               Plaintiff,                No. Cr. S 07-428 MCE
13
               v.                                        STIPULATED MOTION AND ORDER TO
14                                                       REDUCE SENTENCE PURSUANT TO 18
     JUAN CAMACHO,                                       U.S.C. § 3582(c)(2)
15
                               Defendant.                RETROACTIVE DRUGS-MINUS-TWO
16                                                       REDUCTION CASE
17                                                       Judge: Honorable MORRISON C. ENGLAND, JR.
18
19
               Defendant, JUAN CAMACHO, by and through his attorney, Assistant Federal Defender
20
     Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
21   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:
22             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of
23   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment
24   based on a sentencing range that has subsequently been lowered by the Sentencing Commission
25
     pursuant to 28 U.S.C. § 994(o);
26
               2.         On April 5, 2011, this Court sentenced Mr. Camacho to a total term of 171
27
     months imprisonment on the above-captioned cases, comprised of 171 months on Count 1 in No.
28
     2:07-cr-170 (for violation of 21 U.S.C. § 846 and 841(a)(1)), 171 months on Count 1 in No.
     Stipulation and Order Re: Sentence Reduction         1
       Case 2:07-cr-00170-MCE Document 151 Filed 11/10/15 Page 2 of 3



1    2:07-cr-428 (for violation of 21 U.S.C. §§ 846 and 841(a)(1)), and 36 months on Count 1 in
2    2:07-cr-289 (for violation of 18 U.S.C. § 4), to be served concurrently;
3              3.         As to the drug offense, the combined total offense level was 35, the criminal
4    history category was I, and the resulting guideline range was 168 to 210 months;
5              4.         The sentencing range applicable to Mr. Camacho was subsequently lowered by
6    the United States Sentencing Commission in Amendment 782, made retroactive on July 18,
7    2014, see 79 Fed. Reg. 44,973;
8              5.         Mr. Camacho’s total offense level has been reduced from 35 to 33, and his
9    amended guideline range is 135 to 168 months. A comparable point within the new range yields
10   a new term of 138 months imprisonment;
11             6.         Accordingly, the parties request the Court enter the order lodged herewith
12   reducing Mr. Camacho’s term of imprisonment in Nos. 2:07-cr-170 and 2:07-cr-428 to a term of
13   138 months, to be served concurrently to each other and to the 36-month term of imprisonment
14   in No. 2:07-cr-289. The parties agree this term is fair and reasonable pursuant to 18 U.S.C. §
15   3553(a).
16   Respectfully submitted,
17   Dated: October 15, 2015                            Dated: October 15, 2015
18
     BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
19   United States Attorney                             Federal Defender

20
      /s/ Jason Hitt_                                   /s/ Hannah R. Labaree
21   JASON HITT                                         HANNAH R. LABAREE
     Assistant U.S. Attorney                            Assistant Federal Defender
22
     Attorney for Plaintiff                             Attorney for Defendant
23   UNITED STATES OF AMERICA                           JUAN CAMACHO

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     Stipulation and Order Re: Sentence Reduction          2
       Case 2:07-cr-00170-MCE Document 151 Filed 11/10/15 Page 3 of 3



1                                                          ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that in Nos. 2:07-cr-170 and 2:07-cr-428, Mr.
5    Camacho is entitled to the benefit Amendment 782, which reduces the total combined offense
6    level from 35 to 33, resulting in an amended guideline range of 135 to 168 months. A
7    comparable point within the new range yields a new term of 138 months imprisonment.
8              IT IS HEREBY ORDERED that the total term of imprisonment imposed in April 2011 is
9    reduced to 138 months, comprised of 138 months on Count 1 in No. 2:07-cr-170 and 138 months
10   on Count 1 in No. 2:07-cr-428, to be served concurrently to each other and to the 36-month term
11   of imprisonment in No. 2:07-cr-289. This sentence is fair and reasonable pursuant to 18 U.S.C.
12   § 3553(a).
13             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
14   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
15   reduction in sentence, and shall serve certified copies of the amended judgment on the United
16   States Bureau of Prisons and the United States Probation Office.
17             Unless otherwise ordered, Mr. Camacho shall report to the United States Probation Office
18   within seventy-two hours after his release.
19             IT IS SO ORDERED.
20   DATED: November 9, 2015
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                                                    _____________________________________________
23                                                  MORRISON  N C. ENGLLAND, JR, C
                                                                                 CHIEF JUDG  GE
                                                    UNITED ST TATES DISSTRICT COU  URT
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     Stipulation and Order Re: Sentence Reduction              3
